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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

 IN RE: TESTOSTERONE REPLACEMENT                        CASE NO. 1:14-CV-01748
 THERAPY PRODUCTS LIABILITY                             MDL 2545
 LITIGATION

                                                        JUDGE MATTHEW F. KENNELLY
 This Document Relates to:


 ALL ACTIONS INVOLVING CLAIMS
 AGAINST ABBVIE DEFENDANTS


                    CASE MANAGEMENT ORDER NO. 134
     (STAY OF CASES INVOLVING CLAIMS AGAINST ABBVIE DEFENDANTS)

       On September 10, 2018, the Court was advised by counsel for plaintiffs and counsel for

defendants AbbVie Inc., Abbott Laboratories, Solvay Pharmaceuticals, Inc., and Unimed

Pharmaceuticals, LLC (“AbbVie Defendants”), that the parties have entered into a Confidential

Term Sheet regarding a potential global settlement, including all filed cases involving claims

against one or more AbbVie Defendants. Based on this report, the Court directs that all

proceedings involving plaintiffs and one or more AbbVie Defendants will be stayed, except as

hereafter ordered by the Court, so that the parties may devote their efforts to finalizing a Master

Settlement Agreement. The parties are directed to report on a regular basis to Special Master

Randi Ellis regarding their progress. These parties are relieved from any dates and deadlines

relating to AbbVie Defendants in any Case Management Order.


IT IS SO ORDERED.

Date: September 10, 2018                           __________________________________
                                                   MATTHEW F. KENNELLY
                                                   UNITED STATES DISTRICT JUDGE
